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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                Charlottesville Division

QUEEN OF VIRGINIA SKILL &                    )
ENTERTAINMENT, LLC,                          )
POM OF VIRGINIA, LLC, and                    )
MIELE MANUFACTURING, INC.,                   )
                                             )
       Plaintiffs,                           )
                                             )
v.                                           )       Civil Action No. 3:19-cv-00065
                                             )
JOSEPH D. PLATANIA, in his official          )
capacity as Commonwealth’s attorney          )
for the City of Charlottesville,             )
                                             )
       Defendant.                            )


                     PLAINTIFFS’ NOTICE REGARDING SUBMISSION
                     OF MOTION TO REMAND WITHOUT A HEARING

       Plaintiffs Queen of Virginia Skill & Entertainment, LLC, POM of Virginia, LLC, and

Miele Manufacturing, Inc. (collectively, “Plaintiffs”), through the undersigned counsel, hereby

advise the Court, in accordance with Local Rule 11(b), that all parties to the above-captioned

matter agree to the submission of Plaintiffs’ Motion to Remand (ECF No. 10) without a hearing.



Dated: January 3, 2020                               Respectfully submitted,


                                                     /s/ Jason C. Hicks, Esq.
                                                     Jason C. Hicks, VSB # 46961
                                                     Ian R. Dickinson, VSB # 92736
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 3rd day of January, 2020, a true and exact copy of the

foregoing document was electronically filed with the Clerk of the Court using the CM/ECF system,

which will send a notification of such filing (NEF) to the following:

       David P. Corrigan (VSB No. 26341)
       Jeremy D. Capps (VSB No. 43909)
       M. Scott Fisher, Jr. (VSB No. 78485)
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       Attorneys for Defendant




                                             /s/ Jason C. Hicks, Esq.
                                             Jason C. Hicks, Esq.




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